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UNTTED STATES DISTRICT COURT De:
FOR THE SOUTTIERN DISTRICT OF NEW YORK,

ReLanes Te. 93 CY G47 F (68D)
FEDERAL INSURANCE CO. et al,

Plainclts,

AL QALDA etal.

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ECK Case

AUG 2 . 2007

ROM, GEORGE B. DANIELS

CONSENE MOTION AND STIPULATION AS TO FURTHER EXTENSION OF FIME

WHEREAS, on or about dubs 2°) 2004, phuncits and defendants Ishunic [nvestinent

Company oF the Cull (Sharpthy eo lleOGS 7) and DMI Administrative Services S.A. Co DALLS.ACH

stipithiicd do an extension of time tor ONES JA. and TICGS to respond to the First Amended

Compbhuat until September 10 und September 15, 2004, respectively; and

WHEREAS, oroor ubout Duly 27) 2004. the Court ordered sueb extension of tine to

respond, the parties having conferred hereby miove the Court lo adept this Supulitiort as te

Purther PAtensien af fime to Respona.

SOW THEREPORE. TE IS HEREBY STIPELATED AND AGREED, by and bebycen

coursed to thie respective pares. thatdhe time for CGS to answer or otherwise respond to tie

hired Amonded! Complaint shall be extended to and through October 8. 2004,

HP IS PUR TITER HEREBY SUIPULATED AND AGREED thatthe me for DMI SUA,

lo saver ar otherwise respend to the First Amended Complaint shall be extended to und dough:

Oetaber la, 2004.

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FhIs bi RPHER HEREBY STIPELATIED AND AGREED that plamtufis” response to
DIMES ACs and HOGS? responsive pleadinys. if any, shall be served within sixty divs ef receipt
of samme from detendant’s counsel: and that defendants shall fle reply papers within fourteen
dies fiacintead nlaaurt’s’ opposing papers, if any.

HIS FURTHER HEREBY STIPULATED AND AGREED that tis Stipulation is
entered uite without prejudice to the ability of HOGS to move the Court for an uddigenal
edenstor ed Lime upon or poor to October 8, 2004. to the ability of DATES OAL tg move the Court
for gn ackdigenalestension of time upen er prior to Ovctober 13, 2004, andor to any ohjectians

Thal pluuitiis dias dake ta suela a mate.

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LP IS FURTHER HEREBY STIPULATED AND AGREED that the partes lereto

resenve dl rrehts una defenses net speertically addressed hereby,

Dated’ Nwav York, Now York
Seplumber 7. 2004

Respectfully subnutted,

COZEN O CONNOR
(Feo,

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SET YE]
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Hiligtt R Fellman 6 0 7ks
J. Seon Tarbutton
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Adorners far Plaintiffs
WITTE & CASE LOP

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OAM Administrative Services Sit. itnued isfaiiic
favestncant Compas of the Gulf (sharyith)
